           Case 1:19-vv-01232-UNJ Document 49 Filed 07/08/22 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1232V
                                          UNPUBLISHED


    CHERYLENE JACKSON,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: June 8, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for Petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION ON JOINT STIPULATION 1

       On August 19, 2019, Cherylene Jackson filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine she received on August
31, 2016. Petition at 1; Stipulation, filed at June 8, 2022, ¶¶ 2, 4. Petitioner further alleges
that her symptoms have lasted longer than six months. Petition at ¶28; Stipulation at ¶4.
Respondent denies “that Petitioner sustained a SIRVA Table injury, and denies that
Petitioner’s alleged shoulder injury and its residual effects were caused-in-fact by her flu
vaccine. Respondent further denies that the flu vaccine caused Petitioner any other injury
or her current condition.” Stipulation at ¶ 6.

       Nevertheless, on June 8, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:19-vv-01232-UNJ Document 49 Filed 07/08/22 Page 2 of 7




     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $35,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                    2
       Case 1:19-vv-01232-UNJ Document 49 Filed 07/08/22 Page 3 of 7




            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS


 CHERYLENEJACKSON,

                         Petitioner,
                                                         No. l 9-1232V
       v.                                                Chief Special Master Corcoran (SPU)
                                                         SPU
 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                         Respondent.


                                          STIPULATION

The parties hereby stipulate to the following matters:

        I. Petitioner Cherylene Jackson ("petitioner'') filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the

"Vaccine Program"). The petition seeks compensation for injuries allegedly related to

petitioner's receipt of an influenza ("flu") vaccine, which vaccine is contained in the Vaccine

Injury Table (the "Table"), 42 C.F.R. § 100.3(a).

        2. Petitioner received a flu vaccine on August 31, 2016.

        3. The vaccine was administered within the United States.

        4. Petitioner alleges that she suffered a shoulder injury related to vaccine administration

('·SIRVA") within the time period set forth in the Table and that her alleged shoulder condition is

actually caused by the vaccine. Petitioner further alleges she suffered subacromial bursitis,

rotator cuff tendinitis, partial-thickness tear of the rotator cuff, rotator cuff syndrome, and a

swollen mass on her right upper arm as a result of her flu vaccination, and that she experienced

the residual effects of her injury for more than six months.
       Case 1:19-vv-01232-UNJ Document 49 Filed 07/08/22 Page 4 of 7




        5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.

        6. Respondent denies that petitioner sustained a SIRVA Table injury, and denies that

petitioner's alleged shoulder injury and its residual effects were caused-in-fact by her flu

vaccine. Respondent further denies that the flu vaccine caused petitioner any other injury or her

current condition.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

               A lump sum of $35,000.00 in the form of a check payable to
               petitioner. This amount represents compensation for all damages
               that would be available under 42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2l(a)(I), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I 0. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U .S.C. § 300aa-l 5(g), including State compensation programs, insurance policies,



                                                  2
       Case 1:19-vv-01232-UNJ Document 49 Filed 07/08/22 Page 5 of 7




Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l5(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys· fees and litigation costs and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-l 5(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-l 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-l0 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on August 31, 2016, as

alleged by petitioner in her petition for vaccine compensation filed on August 19, 2019, in the

United States Court of Federal Claims as petition No. 19-l232V.




                                                     3
       Case 1:19-vv-01232-UNJ Document 49 Filed 07/08/22 Page 6 of 7




        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccination caused petitioner to suffer a

shoulder injury or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                       END OF STIPULATION
I
I
I
I
I
I
I


                                                  4
            Case 1:19-vv-01232-UNJ Document 49 Filed 07/08/22 Page 7 of 7




Respectfully submitted,

PETITIONER:


Cherylene J ackson (Jun 3, l022 10:10 ED T)

CHERYLENEJACKSON


ATTORNEY OF RECORD                                                           AUTHORIZED REPRESENTATIVE
FOR PETITIONER:                                                              OF THE ATTORNEY GENERAL:



JIMMY A. ZGHEIB
ZGHEIB SAYAD, P.C.
                                                                             ~~Y-.«~
                                                                             HEATHER L. PEARLMAN
                                                                             Deputy Director
75 South Broadway, 4 th Floor                                                Torts Branch
White Plains, NY I 060 I                                                     Civil Division
Tel: (914) 729-1100                                                          U.S. Department of Justice
Email: j im@vaccinelawyers.com                                               P.O. Box 146
                                                                             Benjamin Franklin Station
                                                                             Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE                                                    ATTORNEY OF RECORD FOR
OFTHESECRETARYOFHEALTH                                                       RESPONDENT:
AND HUMAN SERVICES:
 George R. Grimes DigitallysignedbyGeorgeR.
                                       Grimes-514
 -514                                  Date: 2022.05.3121:30:40·04'00'

CDR GEORGE REED GRIMES, MD, MPH                                              ADRIANA TEITEL
Director, Division of Injury                                                 Trial Attorney
 Compensation Programs                                                       Torts Branch
Health Systems Bureau                                                        Civil Division
Health Resources and Services                                                U.S. Department of Justice
 Administration                                                              P.O. Box 146
U.S. Department of Health                                                    Benjamin Franklin Station
 and Human Services                                                          Washington, DC 20044-0146
5600 Fishers Lane, 08N 146B                                                  Tel: (202) 616-3677
Rockville, MD 20857                                                          Email: adriana.teitel@usdoj.gov



Dated:       :S\jl\ €...            ~ / 2.- 0 Z. L


                                                                         5
